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                    EXHIBIT C
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION


 KAIFI LLC,

              Plaintiff,                             CASE NO. 2:20-CV-281-JRG
        v.
                                                      JURY TRIAL DEMANDED
 T-MOBILE US, INC., and T-MOBILE USA,
 INC.,

              Defendants.


 KAIFI LLC,

              Plaintiff,

        v.

 VERIZON COMMUNICATIONS INC.,
 CELLCO PARTNERSHIP D/B/A VERIZON
 WIRELESS, VERIZON SERVICES CORP.,                   CASE NO. 2:20-CV-280-JRG
 VERIZON ENTERPRISE SOLUTIONS,
 LLC, VERIZON BUSINESS GLOBAL LLC,                    JURY TRIAL DEMANDED
 VERIZON BUSINESS NETWORK
 SERVICES, LLC, VERIZON CORPORATE
 SERVICES GROUP INC., VERIZON DATA
 SERVICES, LLC, VERIZON MEDIA INC.,
 and VERIZON ONLINE, LLC,

              Defendants.


 LETTER OF REQUEST: REQUEST FOR INTERNATIONAL JUDICIAL ASSISTANCE
       PURSUANT TO THE HAGUE CONVENTION OF 18 MARCH 1970 ON
  THE TAKING OF EVIDENCE ABROAD IN CIVIL OR COMMERCIAL MATTERS


 GREETINGS:

  1. Sender                                 The Honorable Rodney Gilstrap
                                            United States District Court for the Eastern
                                            District of Texas

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                                                     Sam B. Hall, Jr. Federal Building and United
                                                     States Courthouse
                                                     100 East Houston Street
                                                     Marshall, Texas 75670
                                                     USA
  2. Central Authority of the Requested State        National Court Administration
                                                     Attn: Director of International Affairs
                                                     Seocho-daero 219
                                                     Seocho-gu
                                                     Seoul 06590
                                                     Republic of Korea
  3. Person to whom the executed request is to       This Court; representatives of the parties as
  be returned                                        indicated below; the witnesses from whom
                                                     evidence is requested as indicated below; and
                                                     such other person(s) that you deem proper.
  4. Specification of the date by which the          As soon as reasonably practicable.
  requesting authority requires receipt of the
  response to the Letter of Request                  Reason for urgency: The court’s designated
                                                     deadline for submitting documentary and
                                                     testimonial evidence in this case is July 9,
                                                     2021. Defendants respectfully request prompt
                                                     execution of this Request given the deadline
                                                     above.

        In conformity with Article 3 of the Hague Convention on the Taking of Evidence Abroad

 in Civil or Commercial Matters (“Hague Convention”) and Federal Rule of Civil Procedure

 28(b) and 28 U.S.C. § 1781(b), the undersigned authority respectfully has the honor to submit

 the following request:

  5.    a.    Requesting Judicial Authority           The Honorable Rodney Gilstrap
              (Article 3, a)                          United States District Court for the Eastern
                                                      District of Texas
                                                      Sam B. Hall, Jr. Federal Building and United
                                                      States Courthouse
                                                      100 East Houston Street
                                                      Marshall, Texas 75670
                                                      USA
        b.    To the competent Authority of           Republic of Korea
              (Article 3, a)
        c.    Name of the case and any                KAIFI LLC v. T-Mobile US, Inc., et al., Case
              identifying number                      No. 2:20-cv-00281-JRG, United States
                                                      District Court for the Eastern District of
                                                      Texas.


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                                                  KAIFI LLC v. Verizon Communications, Inc.,
                                                  et al., Case No. 2:20-cv-00280-JRG, United
                                                  States District Court for the Eastern District
                                                  of Texas.
  6.   Names and addresses of the parties and their representative (including representatives in
       the requested State) (Article 3, b)
       a.    Plaintiff                            KAIFI LLC (“KAIFI”)
       Representatives                            Enoch H. Liang
                                                  Michael J. Song
                                                  Vincent M. Pollmeier
                                                  LTL ATTORNEYS LLP
                                                  300 S. Grand Ave., 14th Fl.
                                                  Los Angeles, California 90071
                                                  Telephone: (213) 612-8900
                                                  Facsimile: (213) 612-3773
                                                  Email: enoch.liang@ltlattorneys.com
                                                  Email: michael.song@ltlattorneys.com
                                                  Email: vincent.pollmeier@ltlattorneys.com

                                                   Robert Christopher Bunt
                                                   PARKER, BUNT & AINSWORTH PC
                                                   100 E. Ferguson St., Suite 418
                                                   Tyler, Texas 75702
                                                   Email: rcbunt@pbatyler.com
       b.   Defendants                             T-Mobile US, Inc. and T-Mobile USA, Inc.
                                                   (collectively, “T-Mobile”); and Verizon
                                                   Communications Inc., Cellco Partnership
                                                   d/b/a Verizon Wireless, Verizon Services
                                                   Corp., Verizon Enterprise Solutions, LLC,
                                                   Verizon Business Global LLC, Verizon
                                                   Business Network Services, LLC, Verizon
                                                   Corporate Services Group, Inc., Verizon Data
                                                   Services, LLC, Verizon Media Inc., and
                                                   Verizon Online, LLC (collectively,
                                                   “Verizon,” and collectively with T-Mobile,
                                                   “Defendants”).
       Representatives                             Josh A. Krevitt
                                                   Benjamin Hershkowitz
                                                   Katherine Q. Dominguez
                                                   Paul J. Kremer
                                                   GIBSON, DUNN & CRUTCHER LLP
                                                   200 Park Avenue
                                                   New York, New York 10166-0193
                                                   Telephone: (212) 351-4000
                                                   Facsimile: (212) 351-4035
                                                   Email: jkrevitt@gibsondunn.com


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                                                      Email: bhershkowitz@gibsondunn.com
                                                      Email: kdominguez@gibsondunn.com
                                                      Email: pkremer@gibsondunn.com

                                                      Nathan R. Curtis
                                                      GIBSON, DUNN & CRUTCHER LLP
                                                      2001 Ross Avenue
                                                      Dallas, Texas 75201-2923
                                                      Tel: (214) 698-3423
                                                      Fax: (214) 571-2961
                                                      Email: ncurtis@gibsondunn.com

                                                      Melissa R. Smith
                                                      GILLAM & SMITH, LLP
                                                      303 S. Washington Ave.
                                                      Marshall, TX 75670
                                                      Telephone: (903) 934-8450
                                                      Facsimile: (903) 934-9257
                                                      Email: melissa@gillamsmithlaw.com
  7.   a.   Nature of the proceedings (divorce,       This is a civil action alleging patent
            paternity, breach of contract,            infringement under the patent laws of the
            product liability, etc.) (Article 3, c)   United States.

                                                      The above-captioned cases concern the same
                                                      Plaintiff and the same asserted patent, and
                                                      thus the information sought in these requests
                                                      is equally relevant to issues common to both
                                                      litigations. For convenience and conservation
                                                      of judicial resources, counsel for T-Mobile
                                                      and Verizon have therefore coordinated to file
                                                      this single, consolidated set of requests under
                                                      the Hague Convention applicable to both
                                                      cases.
       b.   Summary of complaint                      The complaint alleges that T-Mobile infringes
                                                      U.S. Patent No. 6,922,728 (the “728 patent”)
                                                      by making, using, selling, offering to sell,
                                                      and/or importing certain wireless/cellular
                                                      instrumentalities. KAIFI alleges it is entitled
                                                      to damages constituting, in part, a reasonable
                                                      royalty on a license for the 728 patent. KAIFI
                                                      also alleges it is entitled to an injunction
                                                      preventing T-Mobile’s alleged continuing
                                                      infringement of the 728 patent. KAIST is the
                                                      original assignee named on the face of the
                                                      728 patent. The 728 patent was then




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                                           allegedly assigned to Intellectual Discovery
                                           Co., Ltd., and then to KAIFI.

                                           The complaint alleges that Verizon infringes
                                           U.S. Patent No. 6,922,728 (the “728 patent”)
                                           by making, using, selling, offering to sell,
                                           and/or importing certain wireless/cellular
                                           instrumentalities. KAIFI alleges it is entitled
                                           to damages constituting, in part, a reasonable
                                           royalty on a license for the 728 patent. KAIFI
                                           also alleges it is entitled to an injunction
                                           preventing Verizon’s alleged continuing
                                           infringement of the 728 patent. KAIST is the
                                           original assignee named on the face of the
                                           728 patent. The 728 patent was then
                                           allegedly assigned to Intellectual Discovery
                                           Co., Ltd., and then to KAIFI.
       c.   Summary of defenses            In defense against KAIFI’s claims of patent
                                           infringement, T-Mobile asserts, inter alia, that
                                           it does not infringe any of the claims of the
                                           728 patent. T-Mobile also asserts that KAIFI
                                           cannot enforce the 728 patent because it does
                                           not own all right, title, and interest in that
                                           patent; and that the 728 patent is
                                           unenforceable because it does not properly
                                           list all inventors. T-Mobile further asserts
                                           that the claims of the 728 patent are invalid
                                           under at least 35 U.S.C. §§ 102, 103, and 112;
                                           are ineligible for patent protection under 35
                                           U.S.C. § 101; and are unenforceable under
                                           equitable doctrines that include, but are not
                                           limited to, estoppel, unclean hands, waiver,
                                           and implied waiver.

                                           In defense against KAIFI’s claims of patent
                                           infringement, Verizon asserts, inter alia, that
                                           it does not infringe any of the claims of the
                                           728 patent. Verizon also asserts that KAIFI
                                           cannot enforce the 728 patent because it does
                                           not own all right, title, and interest in that
                                           patent; and that the 728 patent is
                                           unenforceable because it does not properly
                                           list all inventors. Verizon further asserts that
                                           the claims of the 728 patent are invalid under
                                           at least 35 U.S.C. §§ 102, 103, and 112; are
                                           ineligible for patent protection under 35



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                                                  U.S.C. § 101; and are unenforceable under
                                                  equitable doctrines that include, but are not
                                                  limited to, estoppel, unclean hands, waiver,
                                                  and implied waiver. Finally, Verizon asserts
                                                  that the KAIFI’s claims for damages are
                                                  statutorily limited under at least 35 U.S.C. §§
                                                  286 and 287; that KAIFI is barred from
                                                  recovering costs under 35 U.S.C. § 288; and
                                                  that claims for relief are limited under the
                                                  doctrines of full compensation, exhaustion,
                                                  and/or first sale.

                                                  Hyun-Ho Choi has knowledge and
                                                  information relevant to Defendants’ defenses,
                                                  including Defendants’ contentions that the
                                                  728 patent is invalid under United States
                                                  patent law.
       d.   Other necessary information or        Hyun-Ho Choi’s current address is:
            documents
                                                  Hankyong National University
                                                  Room 404, Engineering Building 3
                                                  327, Jungang-ro, Anseong-si, Gyeonggi-do,
                                                  Republic of Korea
  8.   a.   Evidence to be obtained or other      Documents requested in Attachment A.
            judicial act to be performed (Article
            3, d)                                 At or around the time of the alleged invention
                                                  of the 728 patent, Hyun-Ho Choi and Dong-
                                                  Ho Cho (the inventor named on the face of
                                                  the 728 patent) were working together at
                                                  KAIST in the same department (Electrical
                                                  Engineering) in the field of wireless
                                                  communication. Thus, Hyun-Ho Choi
                                                  possesses information relevant to Defendants’
                                                  defenses to the complaint’s allegations of
                                                  infringement of the 728 patent and other
                                                  aspects of the underlying case, including but
                                                  not limited to Defendants’ invalidity defenses,
                                                  unenforceability defenses, and documents
                                                  relating to the alleged invention(s) of the 728
                                                  patent. For example, Hyun-Ho Choi
                                                  possesses knowledge relating to the alleged
                                                  invention of the 728 patent (including prior
                                                  art), and inventorship and ownership of the
                                                  728 patent. The evidence sought is directly
                                                  relevant to the issues in dispute.




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                                                      Defendants have no recourse to seek this
                                                      information other than to enlist the aid of this
                                                      Authority through the Hague Convention.
       b.   Purpose of the evidence or judicial       The evidence sought is directly relevant to the
            act sought                                issues in dispute. In particular, Defendants
                                                      seek documents regarding the document
                                                      requests listed in Attachment A. The
                                                      relevance of each request is explained below:

                                                       1. KAIST is the original assignee named on
                                                          the face of U.S. Patent No. 6,922,728 (the
                                                          “728 patent”) (see KAIFI LLC’s
                                                          Complaint, Dkt. No. 1, ¶ 25) and the
                                                          location where the 728 patent was
                                                          purportedly developed (and employer of
                                                          Dong-Ho Cho) (see KAIFI LLC’s
                                                          Complaint, Dkt. No. 1, ¶ 28, stating that
                                                          Dong-Ho Cho “is currently a professor of
                                                          electrical engineering at KAIST” and
                                                          “has been the Dean of the College of
                                                          Information Science & Technology at
                                                          KAIST [and] served as the director of
                                                          KAIST’s Wireless Power Transfer
                                                          Technology Research Center”). The 728
                                                          patent is purportedly “directed to an
                                                          Internet network connecting and roaming
                                                          system and method.” See KAIFI LLC’s
                                                          Complaint, Dkt. No. 1, ¶ 31. At or
                                                          around the time of the alleged invention
                                                          of the 728 patent, Hyun-Ho Choi and
                                                          Dong-Ho Cho were working together at
                                                          KAIST in the field of wireless
                                                          communication in the same department
                                                          (Electrical Engineering), including joint
                                                          authorship of multiple publications in the
                                                          field of wireless communications. Thus,
                                                          Hyun-Ho Choi would have possession or
                                                          control of documents showing the time
                                                          periods during which he was a student,
                                                          researcher, or other employee at KAIST.
                                                          This information is relevant at least to
                                                          Defendants’ invalidity and
                                                          unenforceability defenses.
                                                       2. KAIST is the original assignee named on
                                                          the face of the 728 patent (see KAIFI
                                                          LLC’s Complaint, Dkt. No. 1, ¶ 25) and



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                                              the location where the 728 patent was
                                              purportedly developed (and employer of
                                              Dong-Ho Cho) (see KAIFI LLC’s
                                              Complaint, Dkt. No. 1, ¶ 28, stating that
                                              Dong-Ho Cho “is currently a professor of
                                              electrical engineering at KAIST” and
                                              “has been the Dean of the College of
                                              Information Science & Technology at
                                              KAIST [and] served as the director of
                                              KAIST’s Wireless Power Transfer
                                              Technology Research Center”). The 728
                                              patent is purportedly “directed to an
                                              Internet network connecting and roaming
                                              system and method.” See KAIFI LLC’s
                                              Complaint, Dkt. No. 1, ¶ 31. At or
                                              around the time of the alleged invention
                                              of the 728 patent, Hyun-Ho Choi and
                                              Dong-Ho Cho were working together at
                                              KAIST in the field of wireless
                                              communication in the same department
                                              (Electrical Engineering), including joint
                                              authorship of multiple publications in the
                                              field of wireless communications. Thus,
                                              Hyun-Ho Choi would have possession or
                                              control of documents relating to his duties
                                              and responsibilities during his time at
                                              KAIST as a student, researcher, or other
                                              employee. This information is relevant at
                                              least to Defendants’ invalidity and
                                              unenforceability defenses.
                                           3. KAIST is the original assignee named on
                                              the face of the 728 patent (see KAIFI
                                              LLC’s Complaint, Dkt. No. 1, ¶ 25), the
                                              location where the 728 patent was
                                              purportedly developed, and the employer
                                              of Dong-Ho Cho (the “Named Inventor”)
                                              (see KAIFI LLC’s Complaint, Dkt. No. 1,
                                              ¶ 28, stating that Dong-Ho Cho “is
                                              currently a professor of electrical
                                              engineering at KAIST” and “has been the
                                              Dean of the College of Information
                                              Science & Technology at KAIST [and]
                                              served as the director of KAIST’s
                                              Wireless Power Transfer Technology
                                              Research Center”). The 728 patent is
                                              purportedly “directed to an Internet



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                                               network connecting and roaming system
                                               and method.” See KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 31. At or
                                               around the time of the alleged invention
                                               of the 728 patent, Hyun-Ho Choi and
                                               Dong-Ho Cho were working together at
                                               KAIST in the field of wireless
                                               communication in the same department
                                               (Electrical Engineering), including joint
                                               authorship of multiple publications in the
                                               field of wireless communications. Thus,
                                               Hyun-Ho Choi would have possession or
                                               control of documents relating to his own
                                               research. This information is relevant at
                                               least to Defendants’ invalidity and
                                               unenforceability defenses.
                                            4. KAIST is the original assignee named on
                                               the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               the location where the 728 patent was
                                               purportedly developed (and employer of
                                               the Named Inventor) (see KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 28, stating that
                                               Dong-Ho Cho “is currently a professor of
                                               electrical engineering at KAIST” and
                                               “has been the Dean of the College of
                                               Information Science & Technology at
                                               KAIST [and] served as the director of
                                               KAIST’s Wireless Power Transfer
                                               Technology Research Center”). The 728
                                               patent is purportedly “directed to an
                                               Internet network connecting and roaming
                                               system and method.” See KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 31. At or
                                               around the time of the alleged invention
                                               of the 728 patent, Hyun-Ho Choi and
                                               Dong-Ho Cho were working together at
                                               KAIST in the field of wireless
                                               communication in the same department
                                               (Electrical Engineering), including joint
                                               authorship of multiple publications in the
                                               field of wireless communications. Thus,
                                               Hyun-Ho Choi would have possession or
                                               control of documents relating to his work,
                                               research, interaction, and relationship
                                               with Dong-Ho Cho. This information is



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                                               relevant at least to Defendants’ invalidity
                                               and unenforceability defenses.
                                            5. KAIST is the original assignee named on
                                               the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               the location where the 728 patent was
                                               purportedly developed (and employer of
                                               the Named Inventor) (see KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 28, stating that
                                               Dong-Ho Cho “is currently a professor of
                                               electrical engineering at KAIST” and
                                               “has been the Dean of the College of
                                               Information Science & Technology at
                                               KAIST [and] served as the director of
                                               KAIST’s Wireless Power Transfer
                                               Technology Research Center”). The 728
                                               patent is purportedly “directed to an
                                               Internet network connecting and roaming
                                               system and method.” See KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 31. At or
                                               around the time of the alleged invention
                                               of the 728 patent, Hyun-Ho Choi and
                                               Dong-Ho Cho were working together at
                                               KAIST in the field of wireless
                                               communication in the same department
                                               (Electrical Engineering), including joint
                                               authorship of multiple publications in the
                                               field of wireless communications. Thus,
                                               Hyun-Ho Choi would have possession or
                                               control of presentations, articles, and
                                               conference papers that he authored or co-
                                               authored allegedly relating to the
                                               technology claimed in the alleged
                                               invention(s) of the 728 patent. This
                                               information is relevant at least to
                                               Defendants’ invalidity and
                                               unenforceability defenses.
                                            6. KAIST is the original assignee named on
                                               the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               the location where the 728 patent was
                                               purportedly developed (and employer of
                                               the Named Inventor) (see KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 28, stating that
                                               Dong-Ho Cho “is currently a professor of
                                               electrical engineering at KAIST” and



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                                               “has been the Dean of the College of
                                               Information Science & Technology at
                                               KAIST [and] served as the director of
                                               KAIST’s Wireless Power Transfer
                                               Technology Research Center”). The 728
                                               patent is purportedly “directed to an
                                               Internet network connecting and roaming
                                               system and method.” See KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 31. At or
                                               around the time of the alleged invention
                                               of the 728 patent, Hyun-Ho Choi and
                                               Dong-Ho Cho were working together at
                                               KAIST in the field of wireless
                                               communication in the same department
                                               (Electrical Engineering), including joint
                                               authorship of multiple publications in the
                                               field of wireless communications. Thus,
                                               Hyun-Ho Choi would have possession or
                                               control of research documents referring to
                                               his collaboration with Dong-Ho Cho
                                               allegedly relating to the technology
                                               claimed in the alleged invention(s) of the
                                               728 patent. This information is relevant
                                               at least to Defendants’ invalidity and
                                               unenforceability defenses.
                                            7. KAIST is the original assignee named on
                                               the face of the 728 patent (see KAIFI
                                               LLC’s Complaint, Dkt. No. 1, ¶ 25) and
                                               the location where the 728 patent was
                                               purportedly developed (and employer of
                                               the Named Inventor) (see KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 28, stating that
                                               Dong-Ho Cho “is currently a professor of
                                               electrical engineering at KAIST” and
                                               “has been the Dean of the College of
                                               Information Science & Technology at
                                               KAIST [and] served as the director of
                                               KAIST’s Wireless Power Transfer
                                               Technology Research Center”). The 728
                                               patent is purportedly “directed to an
                                               Internet network connecting and roaming
                                               system and method.” See KAIFI LLC’s
                                               Complaint, Dkt. No. 1, ¶ 31. At or
                                               around the time of the alleged invention
                                               of the 728 patent, Hyun-Ho Choi and
                                               Dong-Ho Cho were working together at



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                                                        KAIST in the field of wireless
                                                        communication in the same department
                                                        (Electrical Engineering), including joint
                                                        authorship of multiple publications in the
                                                        field of wireless communications. Thus,
                                                        Hyun-Ho Choi would have possession or
                                                        control of engineering and laboratory
                                                        notebooks (or equivalents thereof, such as
                                                        log books, record books, memoranda,
                                                        technical reports, diaries, calendars, or
                                                        test results) relating to the technology
                                                        claimed in the alleged invention(s) of the
                                                        728 patent. This information is relevant
                                                        at least to Defendants’ invalidity and
                                                        unenforceability defenses.
   9.    Identity and address of any person to be    None.
         examined (Article 3, e)
   10.   Questions to be put to the persons to be    Not applicable.
         examined or statement of the subject
         matter about which they are to be
         examined (Article 3, f)
   11.   Documents or other property to be           See Attachment A (Document Requests)
         inspected (Article 3, g)
   12.   Any requirement that the evidence be        Not applicable.
         given on oath or affirmation and any
         special form to be used (Article 3, h)
   13.   Special methods or procedure to be          This Letter of Request includes the request
         followed (e.g., oral or in writing,         that Hyun-Ho Choi be directed to produce the
         verbatim, transcript or summary, cross-     documents identified in Attachment A
         examination, etc.) (Article 3, i) and 9)    (Document Requests).
   14.   Request for notification of the time and    This Court respectfully requests that you
         place for the execution of the Request      notify this Court; the representatives of the
         and identity and address of any person to   parties as indicated above; the witness from
         be notified (Article 7)                     whom evidence is requested as indicated
                                                     above; such person(s) that you deem proper;
                                                     and the attorney named below:

                                                    Seong-Soo Park
                                                    Kim & Chang
                                                    75, Saemunan-ro (Crescendo Building),
                                                    Jongno-gu, Seoul, 03182, Korea
                                                    Tel: +82-2-3703-1870
                                                    seongsoo.park@kimchang.com
   15.   Request for attendance or participation of No judicial personnel of the requesting
         judicial personnel of the requesting       authority will attend or participate.



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         authority at the execution of the Letter of
         Request (Article 8)
   16.   Specification of privilege or duty to         Defendants believe that Hyun-Ho Choi does
         refuse to give evidence under the law of      not benefit from any privilege, and does not
         the State of origin (Article 11, b)           endorse the assertion of any such privilege or
                                                       duty.
   17.   The fees and costs incurred which are         Defendants will bear the reimbursable costs
         reimbursable under the second paragraph       associated with this request in accordance
         of Article 14 or under Article 26 of the      with the provisions of the Hague Convention.
         Convention will be borne by:                  Please contact Defendants’ counsel at the
                                                       addresses set out under paragraph 6.b above,
                                                       to make any necessary financial
                                                       arrangements.




  DATE OF REQUEST                              __________________ 2021




                                               ___________________________
                                               The Honorable Rodney Gilstrap
                                               United States District Judge
                                               United States District Court for the Eastern District
                                               of Texas, Marshall Division
                                               Sam B. Hall Jr. Federal Building and United States
                                               Courthouse
                                               100 East Houston Street
                                               Marshall, Texas 75670
                                               United States of America
                                               (signature and seal)




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                        ATTACHMENT A




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                                         INSTRUCTIONS

  1.     In responding to the document requests set forth below, please furnish documents in your

         possession or control.

  2.     Any information provided by you will be treated according to the Protective Order in this

         case. If requested, the Protective Order will be provided to you separately.


                                    DOCUMENT REQUESTS

  REQUEST NO. 1:

         The employment and/or enrollment records (or equivalents thereof) showing that you

  were a student, researcher, or other employee at KAIST between 1998 and 2001.

  REQUEST NO. 2:

         The job description documents (or equivalents thereof) showing your duties and

  responsibilities during your time at KAIST as a student, researcher, or other employee between

  1998 and 2001.

  REQUEST NO. 3:

         The research summaries or agendas (or equivalents thereof, such as grant applications)

  showing the research you performed between 1998 and 2001.

  REQUEST NO. 4:

         The research summaries or agendas (or equivalents thereof, such as grant applications)

  showing research you jointly undertook with Dong-Ho Cho between 1998 and 2001.

  REQUEST NO. 5:

         The presentations, articles, and conference papers that you authored or co-authored

  relating to technology for roaming or handover between either a Bluetooth or a Wi-Fi network

  and a cellular network, or between “indoor” and “outdoor” networks as those terms are used in




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  U.S. Patent No. 6,922,728, whether published or not, prior to 2002.

  REQUEST NO. 6:

         Your research documents or other work documents referring to collaboration with Dong-

  Ho Cho relating to technology for roaming or handover between either a Bluetooth or a Wi-Fi

  network and a cellular network, or between “indoor” and “outdoor” networks as those terms are

  used in U.S. Patent No. 6,922,728, prior to 2002.

  REQUEST NO. 7:

         Your engineering and laboratory notebooks (or equivalents thereof, such as log books,

  record books, memoranda, technical reports, diaries, calendars, or test results) concerning

  technology for roaming or handover between either a Bluetooth or a Wi-Fi network and a

  cellular network, or between “indoor” and “outdoor” networks as those terms are used in U.S.

  Patent No. 6,922,728, prior to 2002.




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